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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §            CRIMINAL NO. 6:09CR009-16
                                                §
 PEGGY ANN HELM                                 §

                           REPORT & RECOMMENDATION OF
                          UNITED STATES MAGISTRATE JUDGE

        On August 14, 2013, the Court conducted a hearing to consider the government’s petition

 to revoke the supervised release of Defendant Peggy Ann Helm.               The government was

 represented by Jim Noble, Assistant United States Attorney for the Eastern District of Texas, and

 Defendant was represented by Craig Bass.

        Defendant originally pled guilty to the offense of Conspiracy to Possess with Intent to

 Distribute and Distribution of at Least 50 Grams but Less than 200 Grams of Methamphetamine,

 a Class B felony. The offense carried statutory maximum imprisonment term of 40 years. The

 United States Sentencing Guideline range, based on a total offense level of 21 and a criminal

 history category of I, was 37 to 46 months. On January 6, 2010, Chief District Judge Leonard

 Davis sentenced Defendant to 37 months imprisonment followed by 3 years of supervised

 release subject to the standard conditions of release, plus special conditions to include financial

 disclosure, mental health treatment, and substance abuse testing and treatment. On November 1,

 2011, Defendant completed the term of imprisonment and began her term of supervised release.

        Under the terms of supervised release, Defendant was prohibited, in relevant part, from

 excessively using alcohol, purchasing, possessing, using, distributing, or administering any

 narcotic or controlled substance. In its petition, the government alleges that Defendant violated

 her term of supervised release by possessing methamphetamine as evidenced by submissions of
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 urine specimens on May 9, 2013; May 30, 2013; and June 4, 2013 that tested positive for

 methamphetamine.

            If the Court finds by a preponderance of the evidence that Defendant violated the

 conditions of supervised release by possessing methamphetamine,1 Defendant will have

 committed a Grade B violation. U.S.S.G. § 7B1.1(a). The government represents that Fifth

 Circuit case law permits a court to find that illicit drug use constitutes possession. Upon a

 finding of a Grade B violation, the Court shall revoke supervised release.                   U.S.S.G. §

 7B1.3(a)(1).         Considering Defendant’s criminal history category of I, the Guideline

 imprisonment range for a Grade B violation is 4 to 10 months. U.S.S.G. § 7B1.4(a).

            At the hearing, Defendant pled true to the allegations set forth above. The government

 recommended
      .      10 months imprisonment, with no supervised release to follow.

            Pursuant to the Sentencing Reform Act of 1984, the Court RECOMMENDS that

 Defendant Peggy Ann Helm be committed to the custody of the Bureau of Prisons for a term of

 imprisonment of 10 months, with no supervised release to follow.

            Defendant has waived his right to object to the findings of the Magistrate Judge in this

 matter so the Court will present this Report and Recommendation to District Judge Leonard

 Davis for adoption immediately upon issuance.
           SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 14th day of August, 2013.




 1
     Such an offense is a violation of Texas Health and Safety Code § 481.115.

                                                            2
